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3. Incidents and Narratives: The Evolution of Election Misinformation




       Figure 3.4: Tweets by conservative influencers Matt Oswalt (left) and Charlie Kirk (right) amplifying
       the false mail-dumping incident.



       Greenville, Wisconsin
       In late September, another incident of discarded mail—this one in Greenville,
       Wisconsin—was used to sow doubt in mail-in voting and, in some cases, to claim
       voter fraud. Local reporting at the time suggested that, in this case, the discarded
       mail did include several ballots.14 (The Wisconsin Election Commission later said
       the mail did not include any Wisconsin ballots;15 more recent reporting suggests
       there was at least one ballot from Minnesota among the mail.16 ) However, as
       in Glendale, California, strategic partisan actors distorted the significance of
       this event, through selective amplification, exagggerating impact, and falsely
       assigning deliberate intent to purported Biden-supporting USPS workers.17 This
       second story appeared within weeks of the first in Glendale. While there were
       no absentee ballots in the mail-dumping case in Glendale, the seed had been
       planted that voting by mail was not safe and secure. With this second case,
       when several absentee ballots were actually found, pundits were able to point
       to both cases as support for their claims around voting by mail and, eventually,
       a rigged election. Throughout its monitoring period, the EIP saw many isolated
       incidents that seeded narratives and that were later drawn upon as “evidence”
       to clarify, refine, and reinforce larger narratives—a tactic that seemed to be used
       frequently among right-wing influencers and networks.
       This narrative spread almost exclusively through conservative networks, pushed
       by influencers such as Charlie Kirk, The Gateway Pundit, and Breitbart News.
       The graph below reveals how the claim cascaded through the Twittersphere
       over time.
       Alarmingly, this narrative made it all the way to the White House, when press
       secretary Kayleigh McEnany stated “Mass mail-out voting... could damage

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Greenville, WI Mail Dump

September 25, 2020
                                                                         Conservative Follow
                                                                         Networks
  Mainstream Liberal




                                                                Mainstream Conservative
              Liberal Follow Networks

Figure 3.5: Network graph showing how narratives about the Greenville, WI, mail-dumping event
spread primarily through politically conservative and pro-Trump accounts. An animated version
of this graph can be found in the EIP’s blog post, “Emerging Narratives Around ‘Mail Dumping’
and Election Integrity.”18



either candidate’s chances because it’s a system that’s subject to fraud. In fact,
in the last 24 hours, police in Greenville, Wisconsin, found mail in a ditch, and
it included absentee ballots.”20 The amplification techniques were effective in
sowing distrust in mail-in voting and the USPS at large, despite neither event
posing a real risk to the election results.


Sonoma, California
On September 25, a tweet that over 1,000 ballots had been discovered in a
dumpster in Sonoma, California, further added to the narrative sowing distrust
in mail-in voting. Elijah Schaffer, a conservative influencer and verified Twit-
ter user, allegedly received photos of the mail-dumping incident. He posted
the photos on Twitter, and other influencers ensured its rapid spread across
conservative social media—including on Gab, Reddit, and Parler.

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3. Incidents and Narratives: The Evolution of Election Misinformation




       Figure 3.6: A cumulative graph of tweets about mail dumping in Greenville, Wisconsin. As shown in
       the graph, early propagation of the tweet was driven by pro-Trump and MAGA-branded accounts.
       Original tweets are green squares; retweets are blue circles. Further tweet content and author
       information can be found within a large interactive version on the website in the endnotes.19



       The photo used in Schaffer’s tweet was framed as evidence of potential fraud in
       the 2020 election. However, the image was of empty envelopes—not ballots—
       from 2018 that had been legally discarded.21 Influencers including The Gateway
       Pundit, Tim Pool, and Donald Trump Jr. retweeted and quote tweeted Schaffer,
       spreading the false narrative that this was an intentional dumping of ballots
       with implications on the 2020 election, and reinforcing the larger narrative that
       mail-in voting was not secure.

       In this case, the misinformation was followed by a prompt fact-check from
       Sonoma County on Twitter (see Figure 3.8 on page 60). On September 25, the
       same day as Schaffer’s tweet, Sonoma County tweeted in English and Spanish
       that the picture had been taken out of context to promote a false narrative
       and properly identified the photo as containing empty envelopes from the 2018
       election. This timely identification and correction serves as a model for state
       and local officials. However, it also demonstrates the challenge in debunking

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Figure 3.7: Left, earliest tweet on the Sonoma, CA, alleged mail-dumping incident; right, example
of an influencer sharing the tweet with a conspiratorial and adversarial framing.


information that has already gone viral, as the original misinformation had
significantly larger engagement than the subsequent fact-check.
In each of these cases of “mail dumping,” a real-world event was falsely framed
to reinforce a broader narrative that undermined faith in the USPS and mail-in
voting. The graph in Figure 3.9 on page 61, showing spikes in Google searches
for “mail dumping” during these periods, suggests the effective amplification of
the narratives.


Misinformation from the Top: Ballot Harvesting Conspiracies
In the previous section, we described ballot incidents in which misleading in-
formation or misinformation based on real-world events emerged, bottom-up,
from ordinary users and was subsequently picked up by influencers and political
elites. In this section, we focus on ballot conspiracy theories—ballot incidents
that were framed as deliberately manipulative, with responsibility ascribed to a
powerful figure. These were often first introduced by elites or influencers, many
of whom had large numbers of followers on social media. Top-down, elite-driven

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       Figure 3.8: The County of Sonoma’s tweet fact-checking the false claim that ballots were illegally
       dumped.


       mis- and disinformation was a prominent feature of the 2020 election cycle; we
       will discuss the specific mechanics of “blue-check” (verified) accounts spreading
       claims across platforms in Chapter 4.
       Ballot harvesting is the practice of a third party delivering an absentee or vote-
       by-mail ballot on behalf of another voter; rules governing ballot harvesting vary
       by state, and in most cases harvesting is not inconsistent with state law.22 Yet
       it is both contentious and politicized. Its proponents argue that it increases
       access for those who would otherwise have difficulty voting. Its opponents
       contend that it increases the potential for fraud and point to historic cases of
       wrongdoing.
       The contention over ballot harvesting generally splits along party lines with
       Democrats supporting the practice and Republicans opposing it. This was
       evident in the run-up to the 2020 election as Republican leaders publicly claimed
       it was rife with fraud. For example, in April 2020, President Trump tweeted

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            100




             75
Frequency




             50




             25




              0
                  Apr                    Jul                     Oct                     Jan
                                               Data (2020)

Figure 3.9: Data from Google Trends of “mail dumping” from January 2020 - January 2021.The
two spikes in Google searches for “mail dumping” align with the events described above. The
first spike occurs the week of September 6-12, overlapping with the Glendale, CA, mail-dumping
story. The second spike occurs September 27-October 3, following both the Greenville, WI, and
Sonoma, CA, stories.




that ballot harvesting is “rampant with fraud,” garnering more than 250,000
likes.23 At the Republican National Convention in August 2020, President Trump
told a cautionary tale about the 2018 voter fraud case in North Carolina’s 9th
Congressional District—in which multiple people said a Republican political
operative paid them to collect absentee ballots from voters and falsely witness
a ballot.24 And when the New York Post shared its story referenced above,
conservative influencers shared it on social media.


Additionally, in August 2020, the New York Post published an article in which
an unnamed Democratic operative described committing a range of alleged
electoral fraud practices that could impact an election.25 The EIP saw multiple
tickets, for example, alleging “granny farming,” in which workers who are sent to
nursing homes to help residents fill out ballots inappropriately guide the older
person’s vote or assign a vote without their input.


While there have been isolated incidents of actors abusing ballot harvest-
ing, there is no evidence to suggest it contributes to widespread voter fraud.
Nonetheless, confusion around the practice enabled the ballot harvesting trope
to flourish.26

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       Figure 3.10: President Trump’s April 2020 tweet alleging ballot harvesting is “rampant with fraud.”




       Figure 3.11: Retweets by conservative blue-check accounts of the New York Post article alleging
       mail-in ballot fraud. These images were saved after the election, which is why the Facebook labels
       appear at the bottom of the posts.




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Ballot Conspiracies: Project Veritas and Beyond
One example that illustrates how elite-driven mis- or disinformation can quickly
trend or garner engagement before platforms can react was a narrative that
revolved around a Project Veritas video released on September 27, 2020, claim-
ing that Representative Ilhan Omar was connected to wide-scale voter fraud
in Minnesota.27 Project Veritas, founded and led by conservative activist and
provocateur James O’Keefe, describes itself as an activist group that produces
investigative journalism seeking to expose corruption. It primarily targets left-
leaning organizations and political figures it believes to be anti-conservative.
The group is well-known for their unorthodox journalistic tactics and style,
including infiltrating organizations, and surreptitiously filming. They have faced
legal challenges and backlash for producing deceptively edited videos and em-
ploying unethical tactics while filming undercover. On February 11, 2021, Twitter
permanently suspended Project Veritas’ official Twitter account and temporarily
blocked James O’Keefe’s.28
Project Veritas was what the EIP observed to be a repeat spreader of false
and misleading narratives about the 2020 election (a designation discussed in
more detail in Chapter 5), generating a number of videos that were surfaced
by EIP monitoring and external partners throughout the course of the 2020
campaign and flagged as false or misleading by third-party fact-checkers.29 In
this specific case, O’Keefe released a 17-minute video along with a message that
began “Breaking: @IlhanMN connected to cash-for-ballots harvesting scheme.”
The video begins with an individual claiming that “money is everything.” He then
says his car is full of absentee ballots—showing what appear to be ballots on his
dashboard. As we describe below, these claims were found to be misleading by
independent fact-checkers.
Despite the unreliability of the Project Veritas video, it quickly gained ground.
The video went viral on multiple social media platforms, driven by right-wing
influencers. On Twitter, within the first 15 minutes after O’Keefe’s posting, at
least eight conservative influencers—including Ryan Fournier, Representative
Paul Gosar, Michelle Malkin, and Cassandra Fairbanks—shared the video. Project
Veritas was soon trending. Notably, Donald Trump Jr. appeared to separately
upload the same O’Keefe video within seven minutes of the original post, as it
was posted without a “From James O’Keefe” label. As the EIP described in a blog
post about the Project Veritas video, this suggested that the Trump campaign
may have had access to the video before the general public, raising questions of
coordination.30
The release of the video also seems to have fueled an increase in the use of
#ballotharvesting on Twitter, spiking after the video was shared on September
27. The hashtag primarily appeared in tweets in pro-Trump networks: more than
8,000 times, compared to 30 times in left-leaning and anti-Trump networks.

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                       Plant the Seed                                   Build Anticipation                               Video Release


          SEPTEMBER
                                        SEP 24               SEP 25                        SEP 26                 SEP 27
          2020



           Project Veritas posted a video titled   Project Veritas posted a second              1   New York Times released a deep-dive
           “Project Veritas to release             YouTube video in which O’Keefe                   investigation into almost two decades of President
           undeniable video proof of systemic      goes through multiple online                     Trumps’ taxes.
           voter fraud 09.28.2020.”                articles that mention liberals’ fears
                                                                                                    Soon after, Mike Lindell, the chair of the Minnesota
                                                   of O’Keefe’s revelation. O’Keefe             2   Trump campaign with no known affiliation with
                                                   ends the video, “there are a bunch
                                                                                                    Project Veritas, announced that he had spoken
                                                   of people who are about to be
                                                                                                    with O’Keefe, who now planned to release the
                                                   ‘O’Keefe’d’. Stay tuned.”
                                                                                                    video that day at 9:00 pm ET/6:00 pm PT.

                                                                                                3   At 9:00 pm ET Project Veritas released the video,
                                                                                                    a day before its widely-promoted scheduled
                                                                                                    release time.




            Figure 3.12: Timeline of the release of Project Veritas’s video about ballot harvesting.




        Figure 3.13: Project Veritas videos announcing the release of their video alleging voter fraud.




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 Figure 3.14: A visualization of the promotion of Project Veritas’s Ballot Harvesting video campaign
 on Twitter. Original tweets are green squares; retweets are blue circles; quote tweets are orange
 diamonds; replies are yellow circles; and retweets of quote tweets are red circles.




 Figure 3.15: James O’Keefe’s Project Veritas video was quickly spread by right-wing influencers,
 including Donald Trump Jr. and Ryan Fournier, on Twitter.


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       Figure 3.16: A cumulative graph of tweets after the release of Project Veritas’s video about ballot
       harvesting. Growth of the narrative increased substantially after Donald Trump Jr.’s retweet (large
       red circle) and subsequent original tweet (green square).



       Meanwhile, on Facebook, according to data gathered using CrowdTangle, posts
       with the term “Project Veritas” garnered 2.42 million interactions between
       September 27—the date the video was shared—and October 3, 2020. The most
       popular of such posts was President Trump’s, in which he shared Breitbart’s
       report of the release and said that he hopes the US Attorney in Minnesota has
       this under serious review.

       The video’s ballot harvesting claim was not well supported. As Maggie Astor of
       the New York Times described several days later, the video “claimed through
       unidentified sources and with no verifiable evidence that Representative Ilhan
       Omar’s campaign had collected ballots illegally.”31 Minnesota’s FOX 9 reported
       that the central source in the video claimed that Project Veritas offered him
       $10,000 and used two separate Snapchat videos to “make it appear as if he
       was illegally picking up ballots and offering money for votes.”32 Likewise, USA
       Today wrote that “[t]here is no actual proof of fraud or any relationship between
       individuals in the video and Omar or her campaign.”33 But the quick virality of

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Figure 3.17: Left, President Trump’s tweet about the Project Veritas video (bottom) in the trending
list; right, President Trump’s Facebook post. These images were saved after the election, which is
why the Facebook “projected winner” label appears at the bottom of the post.



 the claim allowed it to take root as a persistent narrative.

The Project Veritas video is notable for two reasons. First, it shows how politically
motivated misinformants can capitalize on confusion; Americans were broadly
unaware of the details of third-party ballot collectors, allowing O’Keefe and right-
wing influencers to fill the gap with misleading and unverified information.

Second, it is an example of false or misleading information that was driven top-
down by verified accounts with large amplification capabilities. The video was
both created by right-wing influencers (O’Keefe and Project Veritas) and initially
disseminated by a network of right-wing social media users with large followings.
Top-down mis- and disinformation is dangerous because of the speed at which
it can spread; if a social media influencer with millions of followers shares a
narrative, it can garner hundreds of thousands of engagements and shares
before a social media platform or fact-checker has time to review its content.

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       The Impact of Ballot-Related Narratives
       Mail dumping and ballot harvesting appeared frequently in the days leading up
       to the 2020 election. Exaggerating the effect of found, discarded, and destroyed
       ballots in the pre-election period may have laid the foundation for widespread
       receptivity to allegations of similar fraud on election night. It can be difficult to
       make empirical assessments of how online content affects real-world opinions;
       there is usually little more than engagement data such as likes, shares, and
       reactions to go on, and those may signal more about pre-existing beliefs than an
       audience being persuaded by the evidence presented. However, a Pew survey
       from November 2020 indicated widespread concern about mail-in voting:34

           • Of the 54% of respondents who voted in person, approximately half had
             cited concerns about voting by mail as a major reason why they did.
           • Only 59% of respondents answered that they were “very confident” that
             their vote was accurately counted, as opposed to 71% in 2016, 68% in 2012,
             73% in 2008, and 68% in 2004. This is the lowest response for a presidential
             or midterm election in 16 years.
           • Only 30% of respondents were “very confident” that absentee or mail-in
             ballots were counted as intended.

       While it is unclear what specific information source or pre-existing beliefs
       shaped public opinion on this issue, what is clear is that a large percentage
       of the electorate was open to the claim that mail-in ballots were a potentially
       significant source of fraud or irregularities. Vocal holders of these beliefs were
       pivotal in shaping the conversation about the legitimacy of the election both on
       and after Election Day, as we will explore throughout this chapter.


       Election-Theft Narratives
       In addition to ballot-specific misinformation, the pre-election period was
       marked by narratives that laid the broad groundwork for claims of a stolen
       election. This took the form of repeated and baseless allegations that voting
       wouldn’t matter at all—that the election result was already decided or would be
       decided by political elites looking to undermine democracy. Claims of an im-
       pending “steal” were prominent in both left-leaning and right-leaning networks
       prior to the election; one side claimed that Trump would steal the election,
       the other that Biden would do the same.36 Some of these claims were spread,
       top down, through the same network of online influencers as the ballot misin-
       formation. Viewed retroactively, these were harbingers of the Stop The Steal
       campaign that would grow into a significant movement after the election, before
       ultimately erupting into violence.

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 Figure 3.18: A tweet from right-wing influencer Candace Owens after the election, supporting
 claims of a rigged election and broad allegations of election fraud.35


The EIP tickets tracked three distinct narrative threads within the “stolen elec-
tion” meta-narrative prior to the election:


     • The Red Mirage/Blue Wave: A weaponization of expert predictions that
       election results would shift dramatically over time due to the timing of
       counts for mail-in ballots; both the right and left leveraged the expert
       predictions to claim the election would be “stolen” by the other side.

     • Army for Trump: A real movement by the Trump campaign to solicit evi-
       dence of election fraud from Trump’s supporters, based on the premise
       that the Democrats were attempting mass voter fraud; this sparked a reac-
       tion from the left, which alleged that the Trump campaign was trying to
       lay the groundwork to steal the election away from Biden.

     • The “Color Revolution”: An idea pushed by far-right activists that began
       with the claim that America was experiencing a Deep State-backed color
       revolution to undermine the Presidential victory of Trump via a coup.


The overall meta-narrative of an impending stolen election, and the repetition
with which it was deployed, provided a frame that could be used to process
future events: any new protest, or newly discovered discarded ballot, could be
processed as additional proof that a “steal” was indeed underway, that there

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       was a vast conspiracy to steal the election from President Trump, and that the
       election results would be illegitimate.



       The Red Mirage and the Blue Wave

       Changes to voting procedures due to COVID-19 led to expert predictions that
       more mail-in voting would take place in 2020 than ever before—and that mail-in
       voting would skew heavily Democrat. Many election analysts predicted that this
       would lead to an initial “red mirage” followed by a “blue wave” in some states:
       the Democratic share (or proportion) of the vote would increase substantially
       between early counts from day-of voting and final ballot totals, as mail-in ballots
       were processed.37 In the weeks leading up to the election, analysts hypothesized
       about which states would see a large blue shift, which would see minimal shifts,
       and which might even go in reverse.38

       Some right-leaning influencers and communities attempted to frame these
       predicted shifts as preemptive evidence of a “stolen election” in two ways. First,
       they pushed a false but largely non-conspiratorial narrative that mass aggregate
       mail-in ballot fraud by individuals would be responsible for any shift. Second,
       some offered a set of false, conspiratorial claims that there would be “ballot-
       stuffing” on Election Day, asserting that there would be a systematic, coordinated
       effort by local authorities to alter the election night vote via the addition of
       forged ballots or the swapping of “real” ballots for fake ones. More conspiratorial
       communities, such as QAnon adherents, argued that attempts by the press
       and electoral experts to educate voters to anticipate voting shifts were in fact
       evidence that elites were strategically planning to steal the election and were
       attempting to inoculate voters to that reality (see Figure 3.19 on the next page).

       The “red mirage” and “blue wave” narrative of election night shifts did ultimately
       come to pass largely as experts predicted, with Biden taking the lead as mail-in
       ballots were counted. It has become one of the most enduring narratives under-
       pinning claims of a “stolen election,” weaponized by conservative influencers as
       evidence that the Democrats supposedly delivered boxes of ballots to polling
       places. In the weeks following the election, prior conspiratorial claims to expect
       theft evolved into specific allegations of voting machine fraud and “found ballots”
       in swing states that President Trump lost. Many of the influencers argued that
       the “red mirage” had in fact been a “red tsunami” interrupted by Democratic
       manipulation. Further, statistical misinformation (discussed in Chapter 4) began
       to appear as influencers alleged that the “blue wave” occurred not because of
       the predicted voting behavior and ballot-processing procedures, but rather due
       to Democratic interference to steal the election, alleging that it had been an
       illegitimate election from the outset.

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 Figure 3.19: Left, a QAnon-aligned post on Parler alleging that the “red mirage” was part of the
 Democratic plans to steal the election; right, an article from conservative blog “Legal Insurrection”
 arguing the same.



 Army For Trump
Prior to the election, the Trump campaign proliferated the idea that the election
was going to be stolen by the Democrats, using ballot-fraud claims and other
procedural misinformation as well as the weaponization of the red mirage/blue
wave prediction, to spark outcry among supporters.

On September 21, 2020, Donald Trump Jr. posted a video on Facebook calling on
supporters to join an “election security operation” the campaign called “Army for
Trump.” Citing concerns that the “Radical Left” was laying the groundwork to
steal the 2020 election, Trump Jr. asked supporters to sign up to join the Trump
campaign’s Election Day team through a site called “DefendYourBallot.” The
website recruited volunteers for general get-out-the-vote activities but also
asked if they had legal expertise and included a form where supporters could
report alleged election incidents directly to the campaign (see Figure 3.20).

This call to action was repeated by President Trump on Twitter and in the first
presidential debate in which he urged supporters to “go into the polls and watch
very carefully” for fraud.39 He also shared the link on his Facebook Page, urging
supporters to “Fight for President Trump”; the post was engaged with over
200,000 times on Twitter (see Figure 3.21 on the following page). Appealing to
volunteers to act as unofficial poll watchers was intended to motivate Trump’s
base, providing additional pathways to participation in the election. It also set

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                      Figure 3.20: The Election Issue Report Form on the “Army for Trump” website.


       the stage for untrained volunteers to amass “evidence” to support the type of
       narratives discussed in the prior section of this report, in which misleading
       claims were leveraged to allege systematic ballot fraud. Although we cannot
       tell if the people who shared videos on Election Day and the weeks following
       were officially part of the “Army for Trump,” there were multiple incidents in the
       EIP ticket database that included video footage of supposed fraud that actually
       documented innocuous events (e.g., video and photographic claims of ballot
       theft that was in fact reporters moving camera equipment).40

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             ���                   ���          ���         ���         ���        ���        ���        ���        ���        ���        ���
                                                                                   �����������
       Figure 3.21: A graph showing Twitter engagement with Trump’s initial “Army for Trump” tweet,
       reproduced below. Retweets in blue; Quote Tweets in orange; Retweets of Quote Tweets in green.

       The “Army for Trump” initiative assisted in creating a vast trove of images,
       videos, and stories of purported incidents that could be selectively chosen,
       falsely framed, and fed into “voter fraud” narratives. It had one other additional
       impact: it sparked fear and outrage on the left. Left-leaning influencers claimed

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that the “Trump Army” itself was an attempt by the campaign to steal the election.
They framed Trump’s calls to action as having the potential to incite violence at
the polls, concern about which might result in voter suppression. An analysis of
100 randomly selected tweets reacting to Trump’s call to be a “Trump Election
Poll Watcher” revealed significant concerns about the movement—with only
four out of 100 quote tweets expressing support for the call. Forty-nine out of
100 tweets believed that Trump’s call had the potential to incite violence at the
polls on Election Day (such as the quote tweets below).

       Original Trump tweet: Volunteer to be a Trump Election Poll Watcher.
       Sign up today! #MakeAmericaGreatAgain41

       Quote tweet 1 (Oct 5, 2020): @jack @Twitter This tweet is encouraging
       election violence. “Fight” and “Army” — those are bugle calls, not dog
       whistles. Twitter, take down this tweet.42

       Quote tweet 2 (Oct 5, 2020): To be clear, the president who has repeat-
       edly encouraged political violence, said ”stand by” to heavily-armed
       extremist groups, and repeatedly spread lies about voting procedures,
       is now calling on his supporters to raise an “Army for Trump” at the
       polls. Just so dangerous.43

 Left-leaning conversation therefore framed the “Army for Trump” as an attempt
 to steal the election through the propagation of fear; this fear was heavily
 reflected in mainstream media coverage (see Figure 3.22).




 Figure 3.22: Media coverage of “Army for Trump.” Clockwise from top left: New York Times,
 Refinery29, Washington Post, and Forbes.

Calls to join the “Army for Trump” thus fed into both left and right-leaning
narratives. Right-leaning social media accounts pushed the idea that the election
would be stolen, to justify the need for the Army. Left-leaning accounts reframed

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       these public calls to watch as incitements to violence, and as an intimidation
       tactic with the potential for voter suppression.

       Color Revolution
       The narratives that the integrity of the election was being strategically and
       intentionally undermined moved into the conspiracy realm with claims that a
       Deep State was orchestrating a coup in a “color revolution.” The term was coined
       in the late twentieth century to describe revolutions in which repressive regimes
       tried to hold on to power after losing an election, spurring widespread domestic
       protests for democratic change. But in 2005, autocrats in China and Russia began
       to redefine the term away from its popular-activism origins, using it instead to
       imply externally imposed regime change—in particular, regime change designed
       to look like a popular uprising despite being furtively orchestrated by intelligence
       services from Western democracies.44 Occasionally, Russian state media, such
       as RT, ran op-eds insinuating that domestic protest movements in the United
       States were in fact color revolution regime-change tactics. However, during
       the 2020 election, the term was applied to American politics in a somewhat
       unexpected way: prominent American conservative influencers suggesting that
       the US was experiencing a Deep State-backed color revolution intended to
       steal the election from President Trump.45 The first major push to introduce
       mainstream audiences to the narrative came from former Trump speechwriter
       and prominent conservative commentator Darren Beattie, who wrote about the
       theory and discussed it in podcasts in conversation with Steve Bannon, Michelle
       Malkin, and Adam Townsend. Right-wing newsite Revolver.News produced a
       detailed series laying out his claims. On September 15, Beattie appeared on
       Tucker Carlson Tonight, giving the narrative mainstream attention on a program
       with an audience of millions.
       The propagation of the color revolution narrative occurred over several months,
       waxing and waning in popularity, but gradually gaining adoption as a frame to
       explain grass-roots Black Lives Matter protests and voting irregularities as part
       of an elaborate plan by Democratic operatives to steal the election.
       After Election Day, use of the term “color revolution” spiked a few more times,
       driven mostly by videos and posts that echoed the pre-election narrative, alleg-
       ing that the “coup” had happened. Two of these spikes of activity, November
       29-30 and December 11-14, seemed to revolve around tweets and posts by Lin
       Wood, a defender of President Trump who prominently promoted various con-
       spiracies to explain Trump’s loss.46
       Wood’s tweets expanded the narrative of the color revolution to include possible
       foreign interference from China, and went so far as to link COVID-19 to the
       broader theme. The claims were shared to Facebook, Parler, and other social
       media platforms.

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                                                                                “Super
          Introducing the Narrative                  Mainstreaming                                   Normalization
                                                                              Spreaders”


     AUGUST                                   AUGUST                 SEPTEMBER                   OCTOBER
     2019                                     2020                   2020                        2020




     AUG 20               DEC 22              AUG 11                   SEP 15                         OCT 7
     Op-ed on RT:         First observed      Darren Beattie      Darren Beattie                      “Q” uses the term in a
     “‘Color revolution   blog post (with     appears on Steve       appears on                       ‘drop’ post, expanding its
     comes home?’         limited social      Bannon podcast     Tucker Carlson                       reach in Q communities
     Democrats target     media traction)
                                                                         Significant-influencer pickup
     Trump with           broaches the
                                                                         (i.e., Glenn Beck) and mass-
     regime-change        idea of a Color
                                                                        spreading sharing dynamics as
     tactics”             Revolution in the
                                                                        users post stories and claims to
                          United States                                         Facebook Groups


 Figure 3.23: Timeline of notable events related to the color revolution leading up to Election Day.




 Figure 3.24: Interactions on posts involving the term “color revolution” post-Election Day, using
 CrowdTangle data.




 Figure 3.25: Tweets by Lin Wood that were shared on Facebook at the end of November and
 mid-December about a “color revolution.”



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       The broad claim that a color revolution was underway, with nefarious actors
       purportedly funding protests and destroying ballots, provided a convenient way
       for those seeking to delegitimize the election to connect unconnected events
       and to create a compelling villain while doing so. True to top-down narrative
       dynamics, social media users who found the story appealing moved the narrative
       into a variety of Facebook Groups and Pages through shares.
       By promoting this narrative, right-leaning influencers appeared to be priming
       their audience to read future events surrounding ballots and protests as po-
       tentially part of that revolution. Accordingly, in the unsettled period between
       Election Day and when the race was called by national media outlets for Biden
       (and, it would turn out, even beyond that), believers of the color revolution
       narrative were primed to accept challenges to the integrity of the election. As
       we will see as we progress through this chapter, this would eventually mani-
       fest into legal challenges that relied on affidavits from individuals primed to
       believe election fraud narratives with little to no knowledge of the ins and outs
       of election procedures. Even on election night itself, the conviction that the
       election would be stolen seems to have motivated the voters of Arizona to latch
       on to one specific claim—felt-tip pens had led to the mass disqualification of
       the ballots of Trump voters—that would give rise to an online movement and a
       real-world protest.


       Case Study 1: #Sharpiegate
       At 5:01 am PT on Election Day 2020, a conservative Chicago radio broadcaster
       sent a tweet noting that felt-tip pens were bleeding through ballots.47 A few
       hours later, at 12:16 pm PT, an anonymous Twitter account sent a tweet ad-
       dressing James O’Keefe of Project Veritas: “Sharpie pen issues on Chicago paper
       ballots,” it began, and alleged that scanners couldn’t read the ballots because
       the markers were bleeding through.
       These were the first tweets the EIP observed alleging that the black felt-tip,
       Sharpie-brand markers some poll workers were handing out were rendering
       ballots unreadable. The concern that ballots marked with Sharpie markers would
       not be counted began to make its way around conservative communities on
       social media. While the Chicago tweet did not gain much traction, the narrative
       quickly spread to Parler and Facebook.
       Local news in Chicago picked up the story and attempted to correct the record:
       by 5:48 pm PT, CBS 2 had written an article reassuring voters that Sharpies were
       just fine.48 The story faded in Chicago, but concerns about Sharpies at polling
       places began to migrate across the country, popping up in tweets associated
       with geographic locales that had become the focus of the vote count as the
       evening progressed.

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 Figure 3.26: Left and top right, tweets about Sharpie pens on ballots in Chicago; bottom right, a
 tweet about the same concern in Arizona.



One of these locales was Arizona. A video that originally appeared on Facebook
went viral: an off-camera videographer (the account name on the video suggests
the videographer is right-wing activist Marko Trickovic)49 is broadcasting his
conversation with a pair of women who are describing voting machines not
reading Sharpie-marked ballots. In the video, the women claimed that Maricopa,
Arizona, poll workers were trying to force voters to use Sharpies despite the
presence of pens. The man recording the video can be heard on camera stating,
“so they’re invalidating votes, is what they’re doing.” As the evening progressed,
and into the next morning, the video was reposted by numerous accounts and
appeared on YouTube, Twitter, Rumble, TikTok, Parler, and Reddit.

After West Coast polls closed and it became apparent that certain swing states—
particularly Arizona—were closer than polls had predicted, the controversy
about Sharpies was offered as an explanation. It became a hashtag, #Sharpiegate,
and various pieces of content alleged that poll workers were handing out the
markers deliberately to Trump supporters to prevent their votes from being
counted. “FRAUD IN ARIZONA. Dems are so desperate,” read one tweet from
10:14 pm PT on Election Day that had over 3,000 likes and retweets. The Maricopa
County Facebook Page seemingly tried to assuage concerns very early on; even
as the debate about Sharpies was largely still a Chicago concern, it posted a
PSA noting that Sharpies worked just fine on Maricopa’s machines.51 Despite

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       Figure 3.27: The video of a woman stating that voting machines were not reading ballots marked
       with Sharpie pens was shared on Twitter, YouTube, and Rumble.50 The Rumble video text reads
       “Maricopa County votes need to be counted by hand! People were given Sharpies instead of
       ballpoint pens when Arizona voting machines can’t read felt-tip marker. So ballots were entered
       into a slot but never counted.”


       the attempts to debunk the developing controversy, however, concerned and
       angry posts continued to appear within pro-Trump communities and channels
       on Reddit, TikTok, Twitter, YouTube, Parler, and others.
       Fox News called Arizona for Joe Biden at 11:20 pm on election night, but overall
       the day ended without a clear winner, as many election experts had predicted.52
       President Trump gave a speech in which he noted that the races in Pennsylva-
       nia and Michigan were still in play, suggested that Arizona was too, and then
       declared:


             “We did win this election. So our goal now is to ensure the integrity
             for the good of this nation, this is a very big moment. This is a major
             fraud on our nation. We want the law to be used in the proper manner.
             So we will be going to the U.S. Supreme Court. We want all voting
             to stop. We don’t want them to find any ballots at 4 o’clock in the
             morning and add them to the list. OK? It’s a very sad, it’s a very sad

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       moment. To me, this is a very sad moment, and we will win this, and
       as far as I’m concerned, we already have won it.”53

The Sharpiegate narrative continued to accelerate the next day, beginning early
in the morning on November 4. Content appeared on Facebook, Twitter, and
Parler alleging that Trump voters specifically had been given Sharpies to in-
validate their ballots. As the day progressed, conservative influencers such as
Charlie Kirk, Dinesh D’Souza, and Steven Crowder asked questions about the
controversy and retweeted claims made by users alleging fraud.
 Local media and election officials in other swing states in which Sharpie markers
 had been used, including Pennsylvania and Michigan, posted articles addressing
 the use of Sharpies in their own jurisdictions, attempting to fact-check what
 appeared to be turning into a widely disseminated conspiracy theory. The Cy-
 bersecurity and Infrastructure Security Agency (CISA) posted its own update to
 its Rumor Control webpage.54 Election officials reported inquiries to the Elec-
 tion Infrastructure Information Sharing and Analysis Center (EI-ISAC), noting
 that they were seeing posts alleging that voters who used Sharpies would not
 have their votes counted. The Michigan Attorney General posted a tweet asking
 members of the public to stop making threatening and harassing phone calls to
 her staff suggesting they shove Sharpies into inappropriate places.55




 Figure 3.28: Graph showing the spread of Sharpiegate tweets (cumulative) before and after Pima
 County’s fact-check tweet.

 By early evening on November 4, however, the Sharpiegate theory left the realm
 of internet chatter and became a live-action rallying cry for Trump supporters

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       who felt the election had been stolen. Protestors, some open-carrying long
       guns, gathered at the Maricopa County Recorder’s Office building, carrying
       signs, waving Sharpies, and chanting about election theft. A local pro-Trump
       Facebook Page, AZ Patriots, livestreamed the protests for several hours.56
       Protesters returned on the evening of November 5 as well. This time, well-
       known conspiracy theorist Alex Jones of Infowars showed up, climbed atop a
       car, and gave a speech about “meth-head Antifa scum,” George Soros, and stolen
       elections, occasionally chanting “1776.”57




       Figure 3.29: Alex Jones at a Sharpiegate protest outside the Maricopa County Recorder’s Office
       on November 5.58 (AP Photo/Matt York)

       Throughout the three-day period in which Sharpiegate was a significant focus,
       the social platforms responded primarily by labeling and taking down content.
       The AZ Patriots livestreaming Page, which had been embroiled in controversy
       over leader Jennifer Harrison livestreaming harassment on several occasions
       (generating Facebook strikes), was taken down.59 Other livestreamers, however,
       such as Steven Crowder on YouTube, discussed Sharpiegate or ran the footage
       from the protests, and did not receive any labeling contextualization until well
       after the fact; as we will discuss in Chapter 4, this is one of the unique challenges
       of moderating a livestream compared to a text article.60
       Sharpiegate provides a detailed look at how a misunderstood incident about
       ballots compounded into a narrative among voters primed to believe that the
       election would be stolen. As the ballot counts continued in the days following
       Election Day, the predicted blue wave indeed began to materialize, and allega-
       tions of fraud and demands for recounts began to increase. Sharpiegate became
       one narrative among many that fed into a meta-narrative, the slogan for which

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 Figure 3.30: A CrowdTangle dashboard showing results sorted by most interactions for “arizona
 sharpie” in public Pages, verified Pages, and public Groups, beginning on November 3, 2020.




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       would come to define the 2020 election for many Trump voters: “Stop The
       Steal.”61


       Case Study 2: #StopTheSteal




                      Pre-Election                 Election                              Post-Election



                          AUTUMN                   NOVEMBER                  DECEMBER                      JANUARY
          2016
                          2020                     2020                      2020                          2021




           Roger Stone     For several months       NOV 4                                                    JAN 6
           uses the        leading up to the        Stop the Steal is                                        Stop the Steal rally event
           phrase “Stop    election, pro-Trump      used in the context                                      near US Capitol turns into
           the Steal”      influencers, pundits,    of election results;                                     violent insurrection and
                           media outlets, and       it goes viral on                                         breach of Capitol building
                           Pres. Trump use the                             Stop the Steal protests occur
                                                    social media                across the country
                           phrase




                                 Figure 3.31: Timeline of the Stop the Steal narrative.


       In the days after the election, “Stop the Steal” grew to encompass not only the
       events related to Sharpiegate, but the broader overall theme that the election
       had been decided by fraud. This rallying cry was aimed at motivating Republicans
       and Trump supporters to halt purported Democratic electoral malfeasance. It
       became a hashtag across multiple platforms, an encompassing and enduring
       phrase. In the weeks following the election, the narrative took a distinctly
       conspiratorial turn.

       At its core, #StopTheSteal falsely postulates that Trump actually won the presi-
       dential election, that Democrats stole the election, and that it is up to Republican
       “patriots” to reverse this—i.e., to stop the Democrats’ theft. In the days following
       the November 2020 election, the call was repeated by prominent conservative
       influencers (including President Trump),62 and grew into a broad Stop the Steal
       movement that attracted a significant presence offline as well. The phrase ap-
       peared in real-world protest organizing materials and in signs at protest events.
       In mid-December, over a month after Election Day, Stop the Steal rallies were
       still occurring in the US; in January 2021, a protest with that slogan erupted into
       a violent insurrection at the US Capitol.

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The “Stop the Steal” phrase itself was seeded far ahead of the 2020 presiden-
tial election. Conservative political strategist Roger Stone launched a “Stop
the Steal” movement in 2016, according to a CNN article; his Stop the Steal
“voter protection” project was sued in federal court for attempting to intimidate
minority voters.63 However, in a November 2020 blog post on his personal
website, Stone took pains to clarify that he was not “a participant in any of the
organizations that adopted my phrase in this year’s election.”64 He repudiated
the CNN article that referenced him in another blog post, though he shared an
image advertising an Atlanta #StopTheSteal rally supported by StopTheSteal.us
(at that point the forefront of “Stop the Steal” in 2020).65




     Figure 3.32: The Stop the Steal rally advertisement posted on Roger Stone’s website.


 #StopTheSteal was used sporadically leading up to Election Day: for example,
 after some states (Pennsylvania, Michigan, Wisconsin, and North Carolina) ex-
 tended the date by which they would accept mail-in ballots, right-wing Twitter
 accounts used the hashtag while denouncing the changes and calling for ac-
 tion. Notably, Ali Alexander—a right-wing personality who would later help
 organize the Stop the Steal movement and amplify numerous sub-themes and
 conspiracies—was one of the actors who tweeted about the four states’ mail-in
 ballot extensions using #StopTheSteal on September 22.66 In a retweet of an-
 other pro-Trump account, Alexander and the original poster framed the states’
 move as “favoring Democrats”: “They’re stealing this election in broad daylight.
 Extending mail-in deadlines, harvesting… We need massive #StopTheSteal
 protests all across the country!”67

 Right-wing media ecosystems were also early adopters of this hashtag. Multiple
 September articles on The Gateway Pundit mentioned “Stop the Steal”; one
 article included a poll asking readers, “Do you think Democrats are trying to
 steal the election?” and another used the hashtag #StopTheSteal in reporting

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                     Figure 3.33: Tweets using #StoptheSteal on September 22.68


       on Trump supporters allegedly being blocked from observing Philadelphia early
       voting locations.
       Members of the Trump family on Twitter, and President Trump himself, also
       pushed the concept of a “steal” early in the election season.70 While these tweets
       did not all mention #StopTheSteal explicitly, they nonetheless helped foster
       the cohesion of several disjointed narratives into one conceptual framework of
       election theft.
       Prior to the election, early uses of #StopTheSteal were used to discuss a range of
       themes described in this chapter: ballot harvesting, mail-in voting, Trump win-
       ning but Democrats stealing the race, Army for Trump, the need for poll watchers,
       a rigged election, and more. The repeated priming of Trump-supporting audi-
       ences to believe that the election had been stolen likely helped to bolster the
       Stop the Steal movement as it further bloomed after the election.
       On Election Day, as results did not break in the President’s favor, prominent con-
       servative influencers quickly took up Stop The Steal. By the evening of November
       3 and November 4, verified Twitter users, including recently elected officials and

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